     Case 2:11-cr-00181-WFN    ECF No. 563   filed 10/05/12    PageID.1662 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     No. CR-11-181-WFN-10
                        Plaintiff,              )
 9                                              )
       v.                                       )     ORDER DENYING UNOPPOSED
10                                              )     MOTION TO MODIFY CONDITIONS
       DONALD BRUCE CUMMINGS,                   )     OF RELEASE
11                                              )
                        Defendant.              )
12                                              )

13          Before the court is Defendant’s unopposed Motion to Modify

14    Conditions of Release. The United States and Defendant’s supervising

15    Pretrial Services Officer have advised the court there is no

16    objection to Defendant’s requested modification.                 In addition, the

17    court notes that on February 16, 2012, the United States did not

18    oppose Defendant’s Motion for release.                  However, a review of the

19    file reflects a significant criminal history.                   Accordingly, the

20    Motion to Modify, ECF No. 540, is DENIED.

21          Defendant shall appear for a status conference on October 15,

22    2012, at 1:30 p.m.

23          IT IS SO ORDERED.

24          DATED October 5, 2012.

25
26                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
27
28


     ORDER DENYING UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE - 1
